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                                   8                                 UNITED STATES DISTRICT COURT
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                                                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12     UNITED STATES OF AMERICA,                          Case No. 16-CR-00519-LHK-1
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           ORDER RE: SUPERSEDING
                                                                                            INDICTMENT
                                  14             v.
                                                                                            Re: Dkt. No. 268
                                  15     JOHNNY RAY WOLFENBARGER,
                                  16                   Defendant.

                                  17

                                  18          At the February 5, 2020 pretrial conference, the Court scheduled a status conference on

                                  19   February 12, 2020 at 9:15 a.m. to “discuss the status of the Government’s anticipated superseding

                                  20   indictment and whether the parties would be available to begin trial on Thursday, March 12,

                                  21   2020.” ECF No. 266 at 1.

                                  22          On February 6, 2020, the government filed a superseding indictment. ECF No. 268.

                                  23   Accordingly, to determine whether the February 12, 2020 status conference is necessary, the Court

                                  24   hereby ORDERS the parties to file a joint statement by February 11, 2020 at 12 p.m. that:

                                  25          (1) provides an update as to whether the parties are available to begin trial on Thursday,

                                  26              March 12, 2020; and

                                  27          (2) identifies what, if any, impact the superseding indictment has on the case and trial date.

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                                       Case No. 16-CR-00519-LHK-1
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                                          Case 5:16-cr-00519-LHK Document 269 Filed 02/06/20 Page 2 of 2




                                   1          Moreover, by March 2, 2020, the parties shall jointly file proposed jury instructions, which

                                   2   include any revisions necessitated by the superseding indictment and the Court’s disposition of the

                                   3   parties’ motions in limine.

                                   4   IT IS SO ORDERED.

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                                   6   Dated: February 6, 2020

                                   7                                                  ______________________________________
                                                                                      LUCY H. KOH
                                   8                                                  United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 16-CR-00519-LHK-1
                                       ORDER RE: SUPERSEDING INDICTMENT
